                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


 WAYMO LLC,                                        Case No.17-cv-00939-WHA
               Plaintiff,

         v.

 UBER TECHNOLOGIES, INC., et al.,
               Defendants.



                       NOTICE REGARDING VIDEO RECORDING

       A request has been made to video record the December 4, 2017 Jury Trial in this case

pursuant to General Order 65, Cameras in the Courtroom Pilot Project.



( )    All parties have consented to the video recording of the proceeding; unless otherwise

       ordered by the presiding judge, the proceeding will be video recorded as part of the Pilot

       Project. See cand.uscourts.gov/cameras for more information.



(X)    At least one party has opposed the request to video record and/or the Court has denied the

       request; the proceeding will not be video recorded.



Dated: 11/24/2017                                   Susan Y. Soong, Clerk of Court



                                                    Signature of Clerk or Deputy Clerk
